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                    UNITED STATES COURT OF APPEALS                        FILED
                            FOR THE NINTH CIRCUIT                         APR 18 2025
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
NATIONAL TPS ALLIANCE; et al.,                   No. 25-2120
                                                 D.C. No.
             Plaintiffs - Appellees,             3:25-cv-01766-EMC
                                                 Northern District of California,
 v.                                              San Francisco
KRISTI NOEM, in her official capacity as         ORDER
Secretary of Homeland Security; et al.,

             Defendants - Appellants.

Before: TASHIMA, OWENS, and DESAI, Circuit Judges.

      The emergency motion (Docket Entry No. 3) to stay the district court’s

March 31, 2025 order is denied. See Nken v. Holder, 556 U.S. 418, 434 (2009)

(defining standard for stay pending appeal). Appellants have not demonstrated that

they will suffer irreparable harm absent a stay. See Doe #1 v. Trump, 957 F.3d

1050, 1059 (9th Cir. 2020) (“[I]f we were to adopt the government’s assertion that

the irreparable harm standard is satisfied by the fact of executive action alone, no

act of the executive branch asserted to be inconsistent with a legislative enactment

could be the subject of a preliminary injunction. That cannot be so.”); see also E.

Bay Sanctuary Covenant v. Trump, 932 F.3d 742, 778 (9th Cir. 2018).

      The existing briefing schedule remains in effect. The clerk will place this

case on the calendar for July 2025. See 9th Cir. Gen Ord. 3.3(g).
